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EXHIBIT B

Case 4:21-cv-O0800-MWB Document 1-2 Filed 05/03/21

California Secretary of State

Electronic Filin Secretary of State
g State of California

Corporation - Statement of Information

Entity Name: BRG SPORTS, INC.

Entity (File) Number: ©C3168605
File Date: 05/11/2020
Entity Type: Corporation
Jurisdiction: _ DELAWARE
Document ID: GF51791

Detailed Filing Information

1. Entity Name: BRG SPORTS, INC.

2. Business Addresses:

a. Street Address of Principal
Office in California:

b. Mailing Address: 9801 W HIGGINS RD STE 800
ROSEMONT, Illinois 60018
United States of America

c. Street Address of Principal

Executive Office: 9801 W HIGGINS RD STE 800
ROSEMONT, Illinois 60018

United States of America
3. Officers:

a. Chief Executive Officer: PAUL E. HARRINGTON
9801 W HIGGINS RD STE 800
ROSEMONT, Illinois 60018
United States of America

b. Secretary: MARK A. TRIPP
9801 W HIGGINS RD STE 800
ROSEMONT, Illinois 60018
United States of America

Document ID: GF51791

Use bizfile.sos.ca.gov for online filings, searches, business records, and resources.
Officers (cont'd):

c. Chief Financial Officer:

4. Director:

Number of Vacancies on the Board of
Directors:

5. Agent for Service of Process:

6. Type of Business:

By signing this document, | certify that the information is true and correct and that | am authorized by

California law to sign.

California Secretary of State
Electronic Filing

MARK A. TRIPP

9801 W HIGGINS RD STE 800
ROSEMONT, Illinois 60018
United States of America

Not Applicable

Not Applicable

CORPORATE CREATIONS
NETWORK INC. (C2250455)

MANUFACTURING SPORTS
EQUIPMENT

Electronic Signature: Lauren Underwood, Special Secretary

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Document ID: GF51791
